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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                     12/14/21

    UNITED STATES OF AMERICA                                 S1 17 Cr. 722 (VSB)

                               -v.-                          [PROPOSED] ORDER

    SAYFULLO HABIBULLAEVIC SAIPOV,

                               Defendant.



VERNON S. BRODERICK, United States District Judge:

        The parties shall comply with the following pretrial schedule for both the guilt and, if

necessary, penalty phases (unless indicated):

Updated Jury Questionnaire

        May 1, 2022                   Parties to file proposed updated jury questionnaire

Updated Expert Disclosures

        June 13, 2022                 Government’s non-mental health expert disclosures
                                      pursuant to Fed. R. Crim. P. 16(a)(1)(G) due.

        July 11, 2022                 Defendant’s non-mental health expert disclosures pursuant
                                      to Fed. R. Crim. P. 16(b)(1)(C) for the guilt and penalty
                                      phases due.

                                      Defendant’s notice of intent to introduce expert evidence on
                                      a mental condition pursuant to Fed. R. Crim. P. 12.2,
                                      including evidence bearing on either the issue of guilt (Rule
                                      12.2(b)(1)) or the issue of punishment (Rule 12.2(b)(2)),
                                      due. If the defendant provides notice pursuant to Rule
                                      12.2(b)(1), the defendant will also make corresponding
                                      disclosures pursuant to Rule 16(b)(1)(C) on the same day. 1




1
 The Government will make expert disclosures, if any, that are responsive to the defendant’s Rule
12.2(b)(1) expert disclosures as soon as they are completed following an examination of the
defendant conducted pursuant to Rule 12.2(c)(1)(B).
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Updated Motions in Limine

      July 15, 2022               Motions in limine due.

      August 5, 2022              Responses to motions in limine due.

      August 19, 2022             Replies to motions in limine due.

      September 19, 2022          Argument, if necessary, on motions in limine.


Jury Instructions


      August 26, 2022             Parties to file proposed jury instructions for
                                  both guilt and penalty phases.


Updated Exhibit List, Witness List, and 3500 Material

      September 2, 2022           Government to produce its updated exhibit list, witness list,
                                  and 3500 material (if not yet produced) for both the guilt and
                                  penalty phases. The Government is directed to make these
                                  disclosures as complete as possible with the understanding
                                  that they may be subject to change as the Government
                                  continues to prepare for trial and respond to defense
                                  arguments to the jury.
Jury Selection and Trial

      Week of August 15, 2022     Potential jurors begin to come to courthouse to fill out
                                  questionnaire.

      September 26, 2022          Parties to file list of stipulated strikes for cause.

      October 3, 2022             Conference for Court to rule on stipulated strikes for cause.
                                  List of venire finalized and notified.

      October 11, 2022            Individual voir dire begins, followed by trial.




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Penalty Phase Timing and Defense Disclosures

         Within 24 hours of verdict   The defendant will produce his exhibit list, witness list, and
                                      3500 material.

         Start of Penalty Phase       The penalty phase, if necessary, will commence
                                      one week after the guilty verdict.


SO ORDERED.

Dated:                    14 2021
                December ____,
                New York, New York




                                                     __________________________________
                                                     Vernon S. Broderick
                                                     United States District Judge
                                          Application granted. The Court will inform the parties
                                          concerning the exact dates and times potential jurors will be
                                          filling out the questionnaire.




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